 

 

IN THE UNITED STATES DIsTRICT COM NFOLERK'S Goce

FoR THE MippLée Distarcy OF TENNESSEE
JAN = 7 2015
U.S. DISTRICT COURT

ALEXANDER L. BAYTER MID. DIST. TENN.

Me

Case No.

 

SPENCER R: HARRIS

BRAD BRACEN ewdfo.2
Otticee TOHN DOS

(Taey Demews )

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H2USCe INBS  Cluct RIGHTS Comrrait

 

rites duction

Thi is © AZ US. IMSZ Chul Rrghts Complaint being
baeught by Rlerawdea bi Bartek, ans inmate PRESENHY incaace aoted)
in the Dautelsans Coen ty Sheal€'s OForce at the Cognectroua(
Development Center located ow Hoadin g Place in NMashui We,
Teanessee, The pet toner submits that officers of the
Metacpeli tow Nashville Petice Departwent vielated his
Cow stitutional etghts by using excessive Beace against
him, and thet the feace was sadistic malicious inte nstesnal
and deliberately done to arbre tacaacdy infleet cegiaus bodily
IWjAaY upow the body of the pet tewee. The pettoner
sulgmits that wet only was his comstitutrsnal ay hts uieloated,
ut that Off cer Haerts and Offfceg Baacey committed the
oar achonw of Especrally agg eauvated OLsault and/or (ts
statute ey Equivalent awd as a Result the p bain GP sulerecl

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JSepRisas bod (y NY SR Us PERSE NA hum Wa tron Ewmotrenwal dristeess
and ment! anguish because of this Ceimiwal act dewe by

Ofcen Horas and offfcen Baacey.

 

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dn addition te the above the petittoner aduitedty Submits
that during the ecuase of an araest he aan and hid iw the
barement of ahouse. Officea Hoaals and Offfcea Bracey soon
enteged the basement ulth a K-41. The pe titfewer sot elase
te the UWindous “pen cuhich the of ceas Entered unth the K-4.
The petitioner Wwatehed the K-44 RUN ANG apound on the other
stde of the basement. The ofceas located the petitronea
fiasty then the K-% Qaw up and one of the offfcees Was
holding the K-% by {KE Collog. “The petittener sat on the
ground) Peozen SH, uscth his hands patsed Cw the afe.
The K-Y was ba ening anid Rearing up teyiwg te get at
the pettrener. Whew the EDU @aw up to the o Heer, the
pEtitenEe, had sucdendered. he pert trowee UTAS AE gun
point with a Flach li ght shining sw him, At was day leg ht
outside and theee was lots of light shintacg thaeugh the
urwdoess., Owe of€feee was in Leenwt of the petttre ner, and
one afGcew uras behind the petctrowee. The peti tlone a
was Not physically Qesisti wg. The pet onee did nothing
to paoveke any force. The ofGreee in feowk of the petit'onee
then Released the KV, and both eficeasr steod ancl
watehet as the K% attacked. The otcee behind hed an
OP pow tearnsty +o integvencs and stop the attack, He didn,
The ofGtcer in Leont eventually steeped in and eemoved
the KT. The called Ha K4 aperehenss (ens, but here Were
wo liter onde d the petitvoneas ARMs, We lb (tes Und er/on
the petitioner's legs, we be&s on the petitoaners hands

wort Lreke there Any ethee bites on Any pant af the

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2) .

 

 

 
 

petittawerts body. The petttonee was tronslereced to Meteo
Nashuille Gene za} Hospital with deep lacerotrows unded the
prt of his adam only. The officers then red tw theia police
Repoetr because the officers located and had the poh throw ee
at gunipotet fast. Whot they did ts the ep Etitre WEL CSAS Oo
ChRiminerl act Uundee the athe rity invested tw then by the

Me troaalitan Nashutde Peltce PEPartmew-+4t

The petitioner eKhausted all 2 his adarfar iy teatime

Remedics, The peti ttonenr Reda CAMP loint/geievance Lest

rw Deso. UsShew he peceived o Response the peti Vonee
y

Li led Cn JG eESvoNnce AP PE ( . Na RES ROWSE te tie GrCeyance

appeal war Received by the pet toned.

The pettttower alra Bled q Bewol comple int by uray
of o Sworn AMdclow't as wellas oa letteg te the Of ceE oC
Prolessiania( fecoun tabs lite of the Metropolitan WNashuclle
Raltce Department. “The pettitoneg wept Bled a complalact(
appert te Sgt Chater Wapner, oa co mp laint(oapp cal ka Ch
Chelste phere Giidea, a camplaiwtfapgyeat te Kt Coptaty
Dhawsa Jones, G com plaint/ ap peat t~ Chief Steve Bncdeareny,
ond a camp laut (app eo 4s Maye 2. Kazl Dean. Ku of the
ecnplarar (ap peats and Respanses are welucdéd ere th

tS mort On 5

Respecttutiy submitted,
kbp &. Batt: 12-29-14

Me. Alexander ti Berle g pee se.

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IN THE UNITED STATES DISTRICT COURT FORECEI VED
THE MIDDLE DISTRICT OF TENNESSEEN CLERK'S OFFICE
MIDDLE DIVISION JAN = 7 2015

 

US. DISTRICT COURT

MID. DIST. TENN.
ALEXANDER L. BAXTER

 

 

PLAINTIFF(S)

VS. CIVIL ACTION NO.

SPENCER R. HARRIS ( Tuey Demand)

PRAD BRACEY ancdloa

OF cek JTohw Doe
DEFENDANT(S)

 

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS UNDER
42 U.S.C. §1983

I, Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to your imprisonment? Yes___ NO _X_

B. If your answer to A is yes, describe each lawsuit in the space below. (If there is more
than one lawsuit,.describe the additional lawsuits on another piece of paper, using the
same outline).

1. Parties to this previous lawsuit

Plaintiffs: N { a.

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I.

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Defendants: Sar tee see ees
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2. Court (if federal court, name the district, if state court, name the county):

3. Docket Number: wla

4. Name of judge to whom case was assigned: w/a

 

5. Disposition: (for example: “Was the case dismissed? Was it appealed? Is it still

 

 

pending’): _wd
6. Approximate date of filing lawsuit: wl
7. Approximate date of disposition: wih

 

Place of present confinement Dovidsont County Shea Oflfce ( Cd ¢)
A. Is there a prisoner grievance procedure in this institution? YES ¥ NO
B. Did you present the facts relating to your complaint in the prisoner grievance procedure?

YES _X NO

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$e thee COUSePi ah, .

 

C. If your answer is Yes: =<) crite eo Ba
1. What steps did you take?: |
Evled Gatevance : Grievance &0 geal
Alss Filed Complaint: Gnd Koaeals ust, MNP
2. What was the result? Elec ko Gute nol Affaias Sgt Waawes, Lh Gide,
Captain Tomes, Chick Rudersons , Mayor Peaw & OPK.

 

D. If your answer is No, explain why not:

(a

Parties

(In Item B below, place the full name of the defendant in the blank marked B his official
position and place of employment. In Item A, , Place your full name and address. Do the same
for additional plaintiffs, if any). °°"

 

Paws

A. Name of Plaintiff Nlevensden L. Baxter , och #6 §360
Address DESS Po. Boy (383 Narhutile TN 372

a sie: . a : 2
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IV.

 

B. Defendant Spewncee 2 Moaersr is employed as Police

OR cE z at Metre Nashur(e Police DeEgaetmen t
C. Additional Defendants: _ Dpod Sarceg WA? OD OfFEER
ZO0 Aames RobErtso ny Porki/ay

VoshuiGhle Tac 37201

Statement of Claim Loe tenis ps

State here as briefly as possible the: facts’ of your: ‘case. Describe how each defendant is
involved. Include also the names of other persons involved, dates, and places. If you intend to
allege a number of related claims, number and set forth each claim in a separate paragraph.

Oras fanuaey & 2014 fuss. ALLE sted by AMrecense Haeerls ancl
Beocey. The olecees enkeaed the basementt unrth «~ KT. The
officers locoted me fLiest then the K-V gan ue to the off'cer,
A wos sitting ow the grovwd faoren st uit th was hands
Rarsed Ow ChE acre One offteer stood behind me while
the offfcee uslth the K-% sfoad cw feont of me, he «-9

UWOS  LEaRE ng 0p ond barking. Amaia to_setot me, ONE

  

officee had o Hoshli ght, -paintiyg oN me. § was sug eounded

Owd & was caught fC was wot physically zescst NG. ft did

Nothin Ng to Quvouo ke any force. The offftce. ins front of me

then aeleased the de 5, aud thee both stood ond watched

 

as the dog exttocked me. The officce behiwd me had aw

e e

2 nt =RUENE oO stop fhe ottect@ he Aches“.
They called to KF as oechen tion, but there Weee no bites

On My CRW my hands, my legs O@ OW Crary othes part of my

body. The only bites 0 hod were under the art of My Agim

Coe bead

cosae Ue Bs He
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(We) hereby certify under penalty of perjury that the above petition is true to the best of my (our)

information, knowledge and belief.

 

Magers opto, Seay pi

LL WAS ap peehended cant had suprende eed, The atock was deli beats

Setaus beads bey

 
 

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by the offtce AS,

 

Relief sought:

1. & (00,000 Compe wi sote ay Damages

 

 

2. « 100,099 Ponrhuye Damoges

 

3. ® (09 00 Runchly € D amo fer

 

 

 

 

Signed this 27% dayof_  _Dece mbex MLA

 

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Signature(s) of Plaintiff(s)

 

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